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   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                                     Case No. 3:17-cv-00072-NKM │

  Plaintiffs,                                                 │ Hon. Norman K. Moon
  │ v. │

  JASON KESSLER, ET AL.,

   Defendants. │

             DEFENDANT MICHAEL PEINOVICH’S REPLY MEMORANDUM IN
          FURTHER SUPPORT OF HIS MOTION TO RESTRAIN ROBERTA KAPLAN,
          ESQ. AND KAPLAN AND COMPANY LLP FROM FURTHER IMPROPER AND
            UNETHICAL EXTRAJUDICIAL STATEMENTS AND FOR SANCTIONS


         Defendant Michael Peinovich, Pro Se, respectfully submits this reply memorandum in

  further support of his motion to restrain Roberta Kaplan, Esq., and Kaplan and Company LLP

  from further improper and unethical extrajudicial statements and for sanctions.

                                               ARGUMENT

         Ms. Kaplan has adopted a two step approach in her opposition memorandum: 1) ignore

  some and sugarcoat others among the many inflammatory and manifestly prejudicial

  extrajudicial statements she has made in the publicity war she has launched against Peinovich

  and the other defendants, and 2) water down the ethical standards to which she is subject so that

  they are virtually meaningless. Neither step survives critical examination.

         1.     Ms. Kaplan Outrageously Links Peinovich and the Other Defendants to Nikolas
                Cruz.

         Nowhere in Ms. Kaplan’s 20-page opposition memorandum does she try to defend, or

  even mention, her Tweets linking Peinovich and the other defendants to Nikolas Cruz. She does


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  not try to defend those tweets because they are indefensible. Nikolas Cruz is the troubled young

  man who is accused of murdering 14 schoolchildren and three school employees and wounding

  17 others in Parkland, Florida, on February 14, 2018. He has become a symbol for and

  embodiment of irrational and murderous hate to everyone who reads the news across the country,

  and is the centerpiece of the debate now raging over gun control.

         There is zero evidence linking Cruz to Peinovich or the other defendants. It is outrageous

  and unethical for Ms. Kaplan to have broadcast such a nonexistent link via her tweets. Even if

  such evidence existed, Ms. Kaplan should not have broadcast such alleged evidence, especially

  in light of its inflammatory nature.       See Rule 3.6 of the New York Rules of Professional

  Conduct:

         A statement ordinarily is likely to prejudice materially an adjudicative proceeding when it
         refers to a civil matter triable to a jury . . . and the statement relates to: (1) the character,
         credibility, reputation or criminal record of a party, suspect in a criminal investigation or
         witness, or the identity of a witness or the expected testimony of a party or witness . . .
         (5) information the lawyer knows or reasonably should know is likely to be inadmissible
         as evidence in a trial and would, if disclosed, create a substantial risk of prejudicing an
         impartial trial.

         Circulating tweets linking your opposing parties in a jury trial to an accused mass

  murderer of school children is highly unethical, prejudicial, and indefensible conduct, and Ms.

  Kaplan should be sanctioned for doing so by dismissal of plaintiffs’ complaint. Her actions have

  poisoned the public’s views about Peinovich and the other defendants in ways that are impossible

  to ameliorate.   Attempting to void dire prospective jurors with questions even mentioning

  Nikolas Cruz would only further harm the defendants and deprive them of a fair trial.

         2.   Ms. Kaplan Improperly Links Peinovich and the Other Defendants to an
              Unknown Internet Poster that Uses the Name “American Identitarian Party.”


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         Ms. Kaplan has devoted a considerable portion of her Twitter publicity campaign and

  also her opposition memorandum to linking Peinovich and the other defendants to an Internet

  poster who identifies himself or herself as the “American Identitarian Party.” Peinovich has

  stated before and affirms again that he did not make those posts, does not even know who the

  person or persons who made the posts is or are, had never previously heard of the “American

  Identitarian Party,” and does not know anyone who knows anything about that alleged entity or

  the person or persons behind it. As everyone knows, posting on the Internet using a fake name is

  easy. The Internet is the Wild West of trolls, shills, and anonymous and falsely identified posters,

  and such persons often do their damage by pretending to be the opposite of what they are – e.g.,

  pretending to be an “Alt- Right” sympathizer when in reality the poster’s aim is to harm an “Alt-

  Right” person or entity by making them look violent, offensive, or ridiculous.

         Ms. Kaplan has never, in her opposition memorandum or during her Twitter campaign,

  brought forth concrete evidence that the “American Identitarian Party” even exists, much less

  that it is actually one of the defendants or affiliated with one. For all that appears, the “American

  Identitarian Party” postings could have been made by AntiFa or other persons sympathetic to the

  plaintiffs in this case. 1 Given the huge and obvious uncertainty regarding the true identities of the

  authors of the “American Identitarian Party” posts, it was reckless, inappropriate, unethical, and

  damaging for Ms. Kaplan to include in her publicity campaign assertions that Peinovich or the

  other defendants were the authors of or otherwise responsible for the posts.


  1 See, e.g., A black man goes undercover in the alt-right https://www.ted.com/talks/
  theo_e_j_wilson_a_black_man_goes_undercover_in_the_alt_right;
  Undercover with the alt-right https://www.nytimes.com/2017/09/19/opinion/alt-right-white-supremacy-
  undercover.html


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         3. Ms. Kaplan Has Improperly and Unethically Invoked Religious Authority to
            Direct and Justify Violence Against Peinovich and the Other Defendants.

         Ms. Kaplan in her opposition memorandum attempts to soft-pedal her prior vehement and

  repeated characterization of the defendants as “Hamans” and her invocation of the Jewish

  holiday of Purim in a call to dispense justice to these “Hamans.” But to those who celebrate

  Purim and also those who, though non-observant, know the story and tradition of Purim, Ms.

  Kaplan’s message comes through loud and clear: Peinovich and the other defendants are as evil

  as Haman and deserve his fate: a violent death.

         As the Court may be aware, Haman is described in the Hebrew Bible as evil person and a

  tribal enemy of the Jews. The following is from a Wikipedia article on Haman https://

  en.wikipedia.org/wiki/Haman (citations omitted):

         [Haman] instigates a plot to kill all of the Jews of ancient Persia. . . The plot is foiled by
         Queen Esther, the king's recent wife, who is herself a Jew. Haman is hanged from
         the gallows that had originally been built, on the advice of his wife Zeresh, to hang
         Mordecai. The dead bodies of his ten sons . . . . are also hanged after they die in battle
         trying to kill the Jews (Esther 9:5-14).
                                                    * * * * *
         In Rabbinical tradition, Haman is considered to be an archetype of evil and persecutor of
         the Jews.
                                                    * * * * *
         The Jewish holiday of Purim commemorates the story of the deliverance of the Jews and
         the defeat of Haman. On that day, the Book of Esther is read publicly and much noise and
         tumult is raised at every mention of Haman′s name. A special noisemaker called
         in Hebrew a ra'ashan (‫( )רעשן‬in Yiddish: "grogger" or "hamandreyir") is used to express
         disdain for Haman.

         In accordance with this history, Ms. Kaplan, by characterizing the defendants as

  “Hamans” and invoking Purim, has been urging those to whom her tweets and their retweets

  were directed to regard the defendants as enemies of Jews and archetypes of evil who deserve to



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  be killed. While it may be unlikely that many in her direct and extended audience would actually

  condone homicide, nonetheless her characterizations carry an emotive impact; moreover, it is

  reasonable to assume that there are Antifa in her audience for whom even a little encouragement

  to violence is like a lit match on dry leaves. 2 Kaplan complains that defendants Peinovich and

  Kessler have made statements calling attention to her apparent religious and ethnic hatred

  towards them as a motivation for bringing this suit.             Yet by characterizing defendants as

  “Hamans” Kaplan links them to an ancient tribal and religious enemy of the Jewish people, thus

  showing these statements to be prima facie true. While Ms. Kaplan has repeatedly made clear

  her hostility to the defendants, she needs to restrain her animosity within ethical bounds. It is

  disgraceful that an attorney would encourage violence against her adversaries, and even more

  disgraceful that she invokes religious authority in doing so.

          4.   Ms. Kaplan Improperly Attributes Every Defendants’ Alleged Actions to Every
               Other Defendant.

          Ms. Kaplan in her opposition memorandum describes a number of offensive Internet

  posts she attributes to the “defendants” that, she asserts, justified her actions in linking the

  defendants to Nikolas Cruz and describing the defendants as “Hamans,” among other actions.

  Here again, as plaintiffs have in their complaint, Ms. Kaplan feels at liberty to indiscriminately

  attribute every defendant’s alleged action to every other defendant. When her memorandum`

  descends to specifics, however, she describes only three statements by Peinovich. One, that Ms.



  2 For Antifa’s propensity for violence see e.g., How Antifa Broke The Alt-Right – “You may not approve
  of the violence of Antifa, but it does serve a purpose.” https://thedailybanter.com/2018/03/how-antifa-
  broke-the-alt-right/;
  Why We Fought in Charlottesville: A Letter on the Dangers Ahead – “The antifa strategically incited
  enough violence before noon to make the police declare it illegal to gather in Emancipation Park” https://
  itsgoingdown.org/fought-charlottesville-letter-dangers-ahead/


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  Kaplan is a “very wealthy and powerful Jewish lesbian,” is simply objective truth and how Ms.

  Kaplan describes herself, except perhaps for the “wealthy” attribute – and “wealthy” is not

  disparaging even if untrue. Peinovich’s comments critical of Kaplan’s ethnic and religious biases

  may seem abrasive to some, but they are mild in comparison to Kaplan’s bloodcurdling

  statements linking defendants to an alleged mass murderer of children, calling defendants

  terrorists, calling defendants “Hamans” and urging violence against them. It also bears mention

  that the comments Ms. Kaplan’s memorandum attributes to Peinovich occurred on February 14,

  2018, which is after Ms. Kaplan had begun her publicity campaign (e.g., February 9, 2018

  Makers conference; February 12, 2018 interview in New York Times) against Peinovich and the

  other defendants. Peinovich had in fact refrained from significant public comment on the case

  until he was made aware of the media offensive Kaplan was engaged in.

         Ms. Kaplan also asserts in her memorandum that she has received “a steady barrage of

  threats and hateful messages since filing this lawsuit.” Peinovich has never sent Ms. Kaplan any

  such messages and does not condone them. But, as a matter of fact, Peinovich and Spencer have

  themselves received a steady barrage of threats – including death threats – and hateful messages

  for years, before and after the filing of this lawsuit. And those threats have credibility, given




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  Antifa’s recognized propensity for violence.3 Moreover, any actually offensive messages cited by

  Kaplan in her reply come from unknown individuals that are not parties to this case.

          5.     Ms. Kaplan Ignores the Fundamental Fact that, as an Attorney, She Is Subject
                to Norms of Conduct that Do Not Apply to Laypersons.

          Ms. Kaplan’s opposition memorandum puts forward the thesis that her publicity war is

  justified by offensive postings made, or allegedly made, by the “defendants.” But there is no

  equivalence. The defendants she cites are laypersons; Ms. Kaplan is an attorney. Attorneys are

  subject to high ethical standards unique to themselves. Even if, for example, Mr. Kessler and

  Mr. Azzmador made the allegedly offensive tweets Ms. Kaplan cites, this would not justify Ms.

  Kaplan in engaging in a wide-ranging Twitter, speechmaking, and media interview publicity

  campaign whose natural result, in violation or Rule of Professional conduct 3.6, has been to taint

  the general public’s perceptions of the defendants.

          6. Peinovich Is Not Seeking a “Sweeping Gag Order” that Limits Ms. Kaplan’s
             First Amendment Rights, as She Claims.

               Ms. Kaplan’s protestations in her opposition that Peinovich is seeking a “sweeping gag

  order” that violates her First Amendment rights is ironic in light of her avowed purpose of using

  this litigation to demonstrate to the defendants and others that the defendants’ messages – which,

  while offensive to many are well within the core protections of the First Amendment – are


  3 For violence and threats directed at defendants see, e.g., Spencer being punched in face while peacefully
  expressing his views: https://www.youtube.com/watch?v=9rh1dhur4aI;
  Neo-Nazi Richard Spencer Got Punched—You Can Thank the Black Bloc – “If that sounds to you like a
  precondition for mob violence, you’re right. But this is only a problem if you think there are no righteous
  mobs, or that windows feel pain, or that counter-violence (like punching Richard Spencer) is never valid”
  https://www.thenation.com/article/if-you-appreciated-seeing-neo-nazi-richard-spencer-get-punched-
  thank-the-black-bloc/;
  Masked Antifa attacking Matthew Heimbach with spiked brass knuckles: http://idavox.com/index.php/
  2018/03/06/richard-routed-antifa-ensures-low-attendance-for-dick-spencer-in-michigan-brawls-and-
  arrests-outside/


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  “unacceptable.” In any event, Peinovich is not seeking a sweeping gag order and the remedies

  he requests do not contravene First Amendment doctrine.

            The issue of drawing the line between permissible and impermissible trial publicity has

  been addressed frequently by courts and by legal authorities who prepare rules of professional

  ethics.   Much of that accumulated thought and wisdom has been developed in the context of

  Rule 3.6. In Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991), the Supreme Court upheld

  the "substantial likelihood of material prejudice" standard now incorporated into Rule 3.6 as a

  constitutionally permissible balance between the First Amendment rights of attorneys in pending

  cases and the State's interest in fair trials. The Court held that lawyers’ extrajudicial statements

  pose a threat to a pending proceeding's fairness, since lawyers have special access to information

  through discovery and client communication and their statements are likely to be received as

  especially authoritative. The “substantial likelihood of material prejudice” standard, designed to

  protect the integrity and fairness of a State's judicial system, is aimed at comments that are likely

  to influence a trial's outcome or prejudice the jury venire, even if an untainted panel is ultimately

  found. The Court noted that few interests under the Constitution are more fundamental than the

  right to a fair trial by impartial jurors. 501 U.S. at 1075-76. In In re Morissey, 168 F.3d 134

  (4th Cir. 1999), the Fourth Circuit upheld the constitutionality of an even less protective

  “reasonable likelihood” standard, albeit in a criminal case.

            The “substantial likelihood of material prejudice” standard has been fleshed out in

  many versions of Rule 3.6, including the American Bar Association and New York

  versions. Certain fact situations have been crystalized as safe harbors – clearly not prejudicial –

  or, on the other hand, as presumptively prejudicial. If Ms. Kaplan in this case had stayed within



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  the safe harbors – e.g., stating (1) the claim, offense or defense and the identity of the persons

  involved; (2) information contained in a public record; (3) that an investigation of a matter is in

  progress; or (4) the scheduling or result of any step in litigation – Peinovich would never have

  filed his present motion. But Ms. Kaplan has strayed far beyond these safe harbors and into

  areas that are presumptively prejudicial – e.g., the character, credibility, and reputation of a party

  or witness and the expected testimony of a party or witness; and information she knows or

  reasonably should know is likely to be inadmissible as evidence in a trial and would, if disclosed,

  create a substantial risk of prejudicing an impartial trial.       There are no First Amendment

  obstacles to corrective remedies for acts of this character.

            As explained in Peinovich’s initial memorandum, the appropriate remedy in this case is

  dismissal of plaintiffs’ complaint. Ms. Kaplan’s improper and inflammatory publicity campaign

  has gone on for over a month, with nationwide impact. It is not realistically possilbe at this point

  to undo the harm from Ms. Kaplan’s linking defendants to a mass murderer; characterizing

  defendants as “Hamans” and invoking impassioned religious sentiment against them; linking

  defendants to offensive tweets by unknown persons or entities;         having one of the plaintiffs

  comment on the evidence she will present; repeatedly grouping all defendants together in public

  announcements; and Ms. Kaplan’s many other prejudicial extrajudicial statements. If, however,

  the Court does not find that dismissal is appropriate, at a minimum Ms. Kaplan should be

  instructed to limit any additional extrajudicial statements in accordance with the standards

  articulated in Rule 3.6 of the New York Rules of Professional Conduct or a similar standard.




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                                                CONCLUSION

          For the reasons stated, Peinovich respectfully requests that plaintiffs’ amended complaint

   be dismissed as an appropriate sanction for Ms. Kaplan’s numerous, unethical, and prejudicial

   extrajudicial statements in this jury trial case. In the alternative, Ms. Kaplan should be instructed

   to cease her publicity campaign against the defendants.

   Dated: March 21, 2018.
                                                                 Respectfully submitted,




                                                                 Michael Peinovich, Pro Se


                                         CERTIFICATE OF SERVICE

   On this 21st day of March, 2018, I Michael Peinovich certify that I served electronically or
   mailed copies of this reply memorandum to:

   Christopher Greene <cgreene@kaplanandcompany.com>,
   David Campbell <DCampbell@dhgclaw.com>,
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                                                                 _________________

                                                                 Michael Peinovich



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